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       In The United States Court of Federal Claims
                                           No. 12-328C

                                       (Filed: June 1, 2012)
                                            __________

     WEGCO, INC.,

                         Plaintiff,

                         v.

     THE UNITED STATES,

                         Defendant,

                         and

     PM SERVICES COMPANY,

               Defendant-Intervenor.

                                            __________

                                      PROTECTIVE ORDER
                                          __________

        The court finds that certain information likely to be disclosed orally or in writing during
the course of this litigation may be competition-sensitive or otherwise protectable and that entry
of a Protective Order is necessary to safeguard the confidentiality of that information.
Accordingly, the parties shall comply with the terms and conditions of this Protective Order.

                                                     I.

1.      Protected Information Defined. “Protected information” as used in this order means
        information that must be protected to safeguard the competitive process, including source
        selection information, proprietary information, and confidential information contained in:

        (a)    any document (e.g., a pleading, motion, brief, notice, or discovery request
               or response) produced, filed, or served by a party to this litigation; or

        (b)    any deposition, sealed testimony or argument, declaration, or affidavit
               taken or provided during this litigation.
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2.   Restrictions on the Use of Protected Information. Protected information may be used
     solely for the purposes of this litigation and may not be given, shown, made available,
     discussed, or otherwise conveyed in any form except as provided herein.

                                             II.

3.   Individuals Permitted Access to Protected Information. Except as provided in paragraphs
     7 and 8 below, the only individuals who may be given access to protected information are
     counsel for a party and independent consultants and experts assisting such counsel in
     connection with this litigation.

4.   Applying for Access to Protected Information. An individual seeking access to protected
     information pursuant to Appendix C, Section VI of this court’s rules must read this
     Protective Order; must complete the appropriate application form (Form 9—“Application
     for Access to Information Under Protective Order by Outside or Inside Counsel,” or
     Form 10—“Application for Access to Information Under Protective Order by Expert
     Consultant or Witness”); and must file the executed application with the court.

5.   Objecting to an Application for Admission. Any objection to an application for access
     must be filed with the court within two (2) business days of the objecting party’s receipt
     of the application.

6.   Receiving Access to Protected Information. If no objections have been filed by the close
     of the second business day after the other parties have received the application, the
     applicant will be granted access to protected information without further action by the
     court. If any party files an objection to an application, access will only be granted by
     court order.

7.   Access to Protected Information by Court, Department of Justice, and Agency Personnel.
     Personnel of the court, the procuring agency, and the Department of Justice are
     automatically subject to the terms of this Protective Order and are entitled to access to
     protected information without further action.

8.   Access to Protected Information by Support Personnel. Paralegal, clerical, and
     administrative support personnel assisting any counsel who has been admitted under this
     Protective Order may be given access to protected information by such counsel if those
     personnel have first been informed by counsel of the obligations imposed by this
     Protective Order.
                                             III.

9.   Identifying Protected Information. Protected information may be provided only to the
     court and to individuals admitted under this Protective Order and must be identified as
     follows:



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       (a)    if provided in electronic form, the subject line of the electronic transmission shall
              read “CONTAINS PROTECTED INFORMATION”; or

       (b)    if provided in paper form, the document must be sealed in a parcel containing the
              legend “PROTECTED INFORMATION ENCLOSED” conspicuously marked
              on the outside.

The first page of each document containing protected information, including courtesy copies for
use by the judge, must contain a banner stating “Protected Information to Be Disclosed Only
in Accordance With the U.S. Court of Federal Claims Protective Order” and the portions of
any document containing protected information must be clearly identified.

10.    Filing Protected Information. Pursuant to this order, a document containing protected
       information may be filed electronically under the court’s electronic case filing system
       using the appropriate activity listed in the “SEALED” documents menu. If filed in paper
       form, a document containing protected information must be sealed in the manner
       prescribed in paragraph 9(b) and must include as an attachment to the front of the parcel a
       copy of the certificate of service identifying the document being filed.

11.    Protecting Documents Not Previously Sealed. If a party determines that a previously
       produced or filed document contains protected information, the party may give notice in
       writing to the court and the other parties that the document is to be treated as protected,
       and thereafter the designated document must be treated in accordance with this Protective
       Order.

                                               IV.

12.    Redacting Protected Documents For the Public Record.

       (a)    Initial Redactions. After filing a document containing protected information in
              accordance with paragraph 10, or after later sealing a document pursuant to
              paragraph 11, a party must promptly serve on the other parties a proposed
              redacted version marked “Proposed Redacted Version” in the upper right-hand
              corner of the first page with the claimed protected information deleted.

       (b)    Additional Redactions. If a party seeks to include additional redactions, it must
              advise the filing party of its proposed redactions within two (2) business days
              after receipt of the proposed redacted version. The filing party must then provide
              the other parties with a second redacted version of the document clearly marked
              “Agreed-Upon Redacted Version” in the upper right-hand corner of the page
              with the additional information deleted.

       (c)    Final Version. At the expiration of the two-day period noted in (b) above, or after
              an agreement between the parties has been reached regarding additional
              redactions, the filing party must file with the court the final redacted version of


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             the document clearly marked “Redacted Version” in the upper right-hand corner
             of the first page. This document will be available to the public.

      (d)    Objecting to Redactions. Any party at any time may object to another party’s
             designation of certain information as protected. If the parties are unable to reach
             an agreement regarding redactions, the objecting party may submit the matter to
             the court for resolution. Until the court resolves the matter, the disputed
             information must be treated as protected.

                                              V.

13.   Copying Protected Information. No party, other than the United States, may for its own
      use make more than three (3) copies of a protected document received from another
      party, except with the consent of all other parties. A party may make additional copies of
      such documents, however, for filing with the court, service on the parties, or use in
      discovery and may also incorporate limited amounts of protected information into its own
      documents or pleadings. All copies of such documents must be clearly labeled in the
      manner required by paragraph 9.

14.   Waiving Protection of Information. A party may at any time waive the protection of this
      order with respect to any information it has designated as protected by advising the court
      and the other parties in writing and identifying with specificity the information to which
      this Protective Order will no longer apply.

15.   Safeguarding Protected Information. Any individual admitted under this Protective
      Order must take all necessary precautions to prevent disclosure of protected information,
      including but not limited to physically securing, safeguarding, and restricting access to
      the protected information.

16.   Breach of the Protective Order. If a party discovers any breach of any provision of this
      Protective Order, the party must promptly report the breach to the other parties and
      immediately take appropriate action to cure the violation and retrieve any protected
      information that may have been disclosed to individuals not admitted under this
      Protective Order. The parties must reasonably cooperate in determining the reasons for
      any such breach.

17.   Seeking Relief From the Protective Order. Nothing contained in this order shall preclude
      a party from seeking relief from this Protective Order through the filing of an appropriate
      motion with the court setting forth the basis for the relief sought.

                                              VI.

18.   Maintaining Filed Documents Under Seal. The court will maintain properly marked
      protected documents under seal throughout this litigation.



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19.   Retaining Protected Information After the Termination of Litigation. Upon conclusion of
      this action (including any appeals and remands), the original version of the administrative
      record and any other materials that have been filed with the court under seal will be
      retained by the court pursuant to RCFC 77.3(d). Copies of such materials may be
      returned by the court to the filing parties for disposition in accordance with paragraph 20
      of this Protective Order.

20.   Disposing of Protected Information. Within thirty (30) days after the conclusion of this
      action (including any appeals and remands), each party must destroy all protected
      information and certify in writing to each other party that such destruction has occurred
      or must return the protected information to the parties from which the information was
      received. Each party may retain one copy of such documents provided those documents
      are properly marked and secured.

      IT IS SO ORDERED.




                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge




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                                         (Attachment A)

      In The United States Court of Federal Claims
                                          No. 12-328C
                                          __________

 WEGCO, INC.,

                           Plaintiff,

                           v.

 THE UNITED STATES,

                        Defendant,

                        and

 PM SERVICES COMPANY,

                          Defendant-Intervenor.


               APPLICATION FOR ACCESS TO INFORMATION UNDER
              PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

1.     I, ________________________, hereby apply for access to Protected Information
covered by the Protective Order issued in connection with this proceeding.

2.     a. I [outside counsel only] am an attorney with the law firm of _____________________
and have been retained to represent _____________________, a party to this proceeding.

      b. I [inside counsel only] am in-house counsel (my title is: ____________________) for
_______________________, a party to this proceeding.

3.     I am [ ] am not [ ] a member of the bar of the United States Court of Federal Claims (the
“Court”).

4.      My professional relationship with the party I represent in this proceeding and its
personnel is strictly one of legal counsel. I am not involved in competitive decision-making as
discussed in U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of
the party I represent, any entity that is an interested party to this proceeding, or any other firm
that might gain a competitive advantage from access to the information disclosed under the
Protective Order. I do not provide advice or participate in any decisions of such parties in
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matters involving similar or corresponding information about a competitor. This means that I do
not, for example, provide advice concerning, or participate in decisions about, marketing or
advertising strategies, product research and development, product design or competitive
structuring and composition of bids, offers, or proposals with respect to which the use of
Protected Information could provide a competitive advantage.

5.     I [outside counsel only] identify here (by writing "none" or listing names and relevant
circumstances) those attorneys in my firm who, to the best of my knowledge, cannot make the
representations set forth in the preceding paragraph:

       ___________________________________

       ___________________________________

       ___________________________________

6.      I identify here (by writing "none" or listing names, position, and responsibilities) any
member of my immediate family who is an officer or holds a management position with an
interested party in the proceeding or with any other firm that might gain a competitive advantage
from access to the information disclosed under the Protective Order:

       ___________________________________

       ___________________________________

       ___________________________________

7.      I identify here (by writing "none" or identifying the name of the forum, case number,
date, and circumstances) instances in which I have been denied admission to a protective order,
had admission revoked or been found to have violated a protective order issued by any
administrative or judicial tribunal:

       ___________________________________

       ___________________________________

       ___________________________________

8.     I [inside counsel only] have attached a detailed narrative providing the following
information:

       a.      my position and responsibilities as in-house counsel, including my role in
               providing advice in procurement-related matters;

       b.      the person(s) to whom I report and their position(s) and responsibilities;



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       c.      the number of in-house counsel at the office in which I work and their
               involvement, if any, in competitive decision making and in providing
               advice in procurement-related matters;

       d.      my relationship to the nearest person involved in competitive decision
               making (both in terms of physical proximity and corporate structure); and

       e.      measures taken to isolate me from competitive decision making and to
               protect against the inadvertent disclosure of Protected Information to
               persons not admitted under the Protective Order.

9.      I have read the Protective Order issued by the court in this proceeding. I will comply in
all respects with that order and will abide by its terms and conditions in handling any Protected
Information produced in connection with the proceeding.

10.    I acknowledge that a violation of the terms of the protective order may result in the
imposition of such sanctions as may be deemed appropriate by the Court and in possible civil
and criminal liability

       ***

By my signature, I certify that, to the best of my knowledge, the representations set forth above
(including attached statements) are true and correct.

______________________________                       __________________________
Signature                                            Date Executed

______________________________
Typed Name and Title

______________________________
Telephone Number

______________________________
Fax Number

______________________________                       __________________________
Signature of Attorney of Record                      Date Executed

______________________________
Typed Name and Title

______________________________
Telephone Number

______________________________
Fax Number
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                                         (Attachment B)

      In The United States Court of Federal Claims
                                           No. 12-328C
                                           __________

 WEGCO, INC.,

                           Plaintiff,

                           v.

 THE UNITED STATES,

                        Defendant,

                        and

 PM SERVICES COMPANY,

                          Defendant-Intervenor.

             APPLICATION FOR ACCESS TO INFORMATION UNDER
           PROTECTIVE ORDER BY EXPERT CONSULTANT OR WITNESS

1.     I, the undersigned, am a________________________with ________________________
and hereby apply for access to Protected Information covered by the Protective Order issued in
connection with this proceeding.

2.     I have been retained by ____________________________ and will, under the direction
and control of ________________________________, assist in the representation of
_____________________________ in this proceeding.

3.      I hereby certify that I am not involved in competitive decision making as discussed in
U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of any party to
this proceeding or any other firm that might gain a competitive advantage from access to the
information disclosed under the protective order. Neither I nor my employer provides advice or
participates in any decisions of such parties in matters involving similar or corresponding
information about a competitor. This means, for example, that neither I nor my employer
provides advice concerning, or participates in decisions about, marketing or advertising
strategies, product research and development, product design or competitive structuring and
composition of bids, offers, or proposals with respect to which the use of protective materials
could provide a competitive advantage.
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4.      My professional relationship with the party for whom I am retained in this proceeding
and its personnel is strictly as a consultant on issues relevant to the proceeding. Neither I, nor
any member of my immediate family holds office or a management position in any company that
is a party in this proceeding or in any competitor or potential competitor of a party.

5.     I have attached the following information:

       a.      a current resume describing my education and employment experience to
               date;

       b.      a list of all clients for whom I have performed work within the two years
               prior to the date of this application and a brief description of the work
               performed;

       c.      a list of all clients for whom I have performed work within the two years
               prior to the date of this application and for whom the use of protected
               material could provide a competitive advantage and a brief description of
               the work performed;

       d.      a statement of the services I am expected to perform in connection with
               this proceeding;

       e.      a description of the financial interests that I, my spouse, and/or my family,
               has in any entity that is an interested party in this proceeding or whose
               Protected Information will be reviewed; if none, I have so stated;

       f.      a list identifying by name of forum, case number, date, and circumstances
               all instances in which I have been granted admission or been denied
               admission to a protective order, had a protective order admission revoked,
               or have been found to have violated a protective order issued by an
               administrative or judicial tribunal; if none, I have so stated; and

       g.      a list of the professional associations to which I belong, including my
               identification numbers.

6.     I have read a copy of the Protective Order issued by the Court in this proceeding. I will
comply in all respects with all terms and conditions of that order in handling any Protected
Information produced in connection with the proceeding. I will not disclose any Protected
Information to any individual who has not been admitted under the Protective Order by the court.

7.       For a period of two years after the date this application is granted, I will not engage or
assist in the preparation of a proposal to be submitted to any agency of the United States
government for _________________________ when I know or have reason to know that any



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party to this proceeding, or any successor entity, will be a competitor, subcontractor or teaming
member.

8.       For a period of two years after the date this application is granted, I will not engage or
assist in the preparation of a proposal or submission to __________________________ nor will
I have any personal involvement in any such activity.

9.     I acknowledge that a violation of the terms of the protective order may result in the
imposition of such sanctions as may be deemed appropriate by the Court and in possible civil
and criminal liability.

       ***

By my signature, I certify that, to the best of my knowledge, the representations set forth above
(including attached statements) are true and correct.


__________________________                            _______________________
Signature                                             Date Executed

__________________________
Typed Name and Title

__________________________
Telephone Number

__________________________
Fax Number


__________________________                            _______________________
Signature of Attorney of Record                       Date Executed

______________________
Typed Name and Title

______________________
Telephone Number

______________________
Fax Number




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